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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )            CR. No. 06-000198 SOM (06)
                              )
                Plaintiff,    )
                              )            ORDER AFFIRMING MAGISTRATE
          vs.                 )            JUDGE’S ORDER DENYING
                              )            DEFENDANT MICHA TERRAGNA’S
DOUGLAS GILMAN, SR.,(01)      )            MOTION FOR RELIEF FROM
DOUGLAS GILMAN, JR.,(02)      )            PREJUDICIAL JOINDER, OR IN
KEVIN BRUNN,         (05)     )            THE ALTERNATIVE, MOTION TO
MICHA TERRAGNA,      (06)     )            SEVER
WILLIAM GILMAN,      (08)     )
                              )
                              )
                Defendants.   )
_____________________________ )



           ORDER AFFIRMING MAGISTRATE JUDGE’S ORDER DENYING
          DEFENDANT MICHA TERRAGNA’S MOTION FOR RELIEF FROM
     PREJUDICIAL JOINDER, OR IN THE ALTERNATIVE, MOTION TO SEVER

I.          INTRODUCTION.

            Defendant Micha Terragna is charged with one count of

operating an illegal gambling business in violation of Haw. Rev.

Stat. § 712-1221 and 18 U.S.C. § 1955 (Count 1), and four counts

of extortion in violation of 18 U.S.C. §§ 1951, 2 (Counts 3

through 6).1    Terragna argued to Magistrate Judge Kevin S.C.

Chang that Counts 3 through 6 were improperly joined in this

action with Counts 1 and 2, or, alternatively, that Counts 1 and

2 should be tried separately from Counts 3 through 6.               Magistrate



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      The Indictment contains a total of six counts. Count 2,
with which Terragna is not charged, alleges the obstruction of
state criminal laws with the intent to facilitate an illegal
gambling business. Indictment at 2-5.
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Judge Chang disagreed, noting that the evidence required to prove

all counts of the Indictment was “substantially the same.”                   Order

Denying Defendant’s Motion (August 30, 2007) (“Order”) at 2.

            Terragna now appeals that Order, citing Rule 8(b) of

the Federal Rules of Criminal Procedure.2              Terragna claims that

there is no logical relationship between the illegal gambling

operation charge in Count 1 and the extortion charges in Counts 3

through 6.    In the alternative, Terragna contends that, even if

joinder if proper under Rule 8(b), she will be prejudiced by the

joinder of offenses and they should therefore be tried separately

from each other under Rule 14(a) of the Federal Rules of Criminal

Procedure.    The court disagrees with Terragna and affirms

Magistrate Judge Chang.

II.         LEGAL STANDARD.

            Pursuant to 28 U.S.C. § 636(b)(1) and Criminal Local

Rule 57.3(b), a party may appeal to the district judge any

pretrial nondispositive matter determined by a magistrate judge.

Under 28 U.S.C. § 636(b)(1)(A), a magistrate judge’s order may be


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      Rule 8(a) of the Federal Rules of Criminal Procedure
governs joinder of offenses against a single defendant, and the
Ninth Circuit has held that Rule 8(b) governs joinder of offenses
when two or more defendants are charged. United States v.
Satterfield, 548 F.2d 1341, 1344 (9th Cir. 1977) (“Where more
than one defendant is named in an indictment, the provisions of
rule 8(b) control.”). Because Terragna is charged along with
eight others--Douglas Gilman, Sr., Douglas Gilman, Jr., Charles
Gilman, John Saguibo, Kevin Brunn, Bryson Apo, William Gilman,
and Glenn Miram (collectively, “Defendants”)--this court analyzes
the joinder of offenses under Rule 8(b).

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reversed by the district judge only if it is “clearly erroneous

or contrary to law.”      The threshold of the “clearly erroneous”

test is high.     United States v. U.S. Gypsum Co., 333 U.S. 364,

395 (1948) (“A finding is ‘clearly erroneous’ when although there

is evidence to support it, the reviewing court on the entire

evidence is left with the definite and firm conviction that a

mistake has been committed.”); Thorp v. Kepoo, 100 F. Supp. 2d

1258, 1260 (D. Haw. 2000) (the clearly erroneous standard is

“significantly deferential, requiring a definite and firm

conviction that a mistake has been committed”).

III.        BACKGROUND FACTS.

            Count 1 alleges that between November 2004 and March

31, 2005, Defendants participated in an illegal gambling

business.    Indictment at 1-2.     The illegal gambling business,

located on Oahu, allegedly involved cockfighting, craps, and card

games, involved more than five people, operated for over 30 days,

and had gross revenues exceeding $2,000 in a single day.                  Id.

            Terragna is not charged in Count 2, which alleges a

conspiracy to obstruct state criminal law with the intent to

facilitate an illegal gambling business.              Indictment at 2-5.

            In addition to being charged in Count 1 with

participating in an illegal gambling business, Terragna is also

charged with four counts of extortion, in violation of the Hobbs

Act.   Counts 3 to 6 of the Indictment allege that Terragna, along


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with Honolulu police officer Kevin Brunn, did “knowingly and

intentionally attempt to obstruct, delay and affect interstate

and foreign commerce by means of extortion,” in violation of 18

U.S.C. § 1511.     Indictment at 6-7.         Terragna and Brunn were

allegedly receiving money from Charles Gilman, one of the

operators of the gambling business, “in exchange for the

performance and nonperformance of official acts by Brunn.”                   Id.

Specifically, the Indictment alleges that (1) Brunn warned a

cockfight operator of scheduled raids by the Honolulu Police

Department’s gambling detail and (2) Terragna and Brunn

threatened Gilman, claiming that he was not in prison on state

drug charges because of Brunn’s efforts.              Id.

IV.         ANALYSIS.

            A.    Joinder of Count 1 And Counts 3 To 6 Is Permitted
                  By Rule 8(b).

            Terragna argues that Magistrate Judge Chang erred in

concluding that joinder of Count 1 with Counts 3 to 6 was

permitted under Rule 8(b) of the Federal Rules of Criminal

Procedure.    Terragna contends that the “the court erred when it

found that the evidence required to prove Counts 1 and 2 is

substantially the same to prove Counts 3 through 6.”                 Appeal and

Request to Reconsider Pretrial Matter (“Appeal”) at 3.                  Because

existence of an illegal gambling business is an element of the

crime that must be proven for both Counts 1 and 2, but not Counts

3 to 6, Terragna argues that the Government failed to show that

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substantially the same evidence is necessary for each of the

joined offenses.     Id. at 6.    This court concludes that joinder of

offenses was proper and that Magistrate Judge Chang committed no

error in so ruling.

            Rule 8(b) of the Federal Rules of Criminal Procedure

provides:

            The indictment or information may charge 2 or
            more defendants if they are alleged to have
            participated in the same act or transaction,
            or in the same series of acts or
            transactions, constituting an offense or
            offenses. The defendants may be charged in
            one or more counts together or separately.
            All defendants need not be charged in each
            count.

            In applying Rule 8(b), the Ninth Circuit “look[s] to

the phrase ‘same series of acts or transactions constituting an

offense or offenses.’”      United States v. Vasquez-Velasco, 15 F.3d

833, 843 (9th Cir. 1994).      The term “transaction” is interpreted

flexibly, and whether a “series” exists depends on whether there

is a “logical relationship” between the transactions.                  Id.   A

logical relationship is typically shown “by the existence of a

common plan, scheme, or conspiracy.”             Id. at 844 (quoting United

States v. Feliz-Gutierrez, 940 F.2d 1200, 1208 (9th Cir. 1991)).

“Mere factual similarity between events is not a sufficient basis

for joinder, nor is the mere showing that the events occurred at

about the same time or that the acts violated the same statute.”

Id. at 843-44 (citing United States v. Ford, 632 F.2d 1354, 1372


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(9th Cir. 1981); United States v. Satterfield, 548 F.2d 1341,

1344 (9th Cir. 1977)).

            “Rule 8(b) should be construed broadly in favor of

initial joinder.”        Id. at 844 (citing Ford, 632 F.2d at 1372;

Satterfield, 548 F.2d at 1344).          The goal of “‘maximum trial

convenience consistent with minimum prejudice’ is best served by

permitting initial joinder of charges against multiple defendants

whenever the common activity constitutes a substantial portion of

the proof of the joined charges.”             Id. (quoting Ford, 632 F.2d at

1372).

            Terragna argues that Rule 8(b) joinder of Count 1 with

Counts 3 to 6 is improper because the evidence required to prove

the illegal gambling operation alleged in Count 1 does not

substantially overlap the evidence required to prove the Hobbs

Act violations alleged in Counts 3 to 6.               Terragna argues that,

although Count 1 is properly joined with Count 2 because “there

is a near complete overlap of evidential proof” required to prove

each offense, there is no such overlap between Count 1 and Counts

3 to 6.    Appeal at 5.

            The Indictment alleges that Terragna extorted money

from cockfight operator Charles Gilman, “in exchange for the

performance and nonperformance of official acts by [police

officer] Kevin Brunn.”        Indictment at 6-7.          Specifically, one of

the methods by which Terragna and Brunn induced payment from


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Gilman was by “warning one or more of the operators of the

Waialua cockfights charged in Count 1 of this Indictment, of

‘raids’ by the Honolulu Police Department’s gambling detail.”

Id.   Terragna contends that joinder of Count 1 with Counts 3 to 6

is improper because evidence required to prove Counts 1 and 2–-

namely the existence of the illegal gambling operation–-is not

required to prove Counts 3 to 6.            The problem with Terragna’s

argument is that joinder is permitted even if the same evidence

is not a required element of each joined offense.

            In United States v. Sanchez-Lopez, 879 F.2d 541 (9th

Cir. 1989), the Ninth Circuit held that the “logical

relationship” required under Rule 8(b) of the Federal Rules of

Criminal Procedure was satisfied if the same testimony was

relevant to the joined charges.         Id. at 551.          In Sanchez-Lopez,

defendants were charged in an eleven-count indictment with

transportation of illegal aliens and conspiracy to distribute

controlled substances.      Id. at 546.         The court found a logical

relationship among the charges, accepting the Government’s

contention that “illegal aliens could thwart United States

immigration laws if they [could] support themselves in this

country through the money obtained through smuggling controlled

substances.”     Id. at 551.    Concluding that testimony regarding

the transportation was relevant to both the alienage and the drug

charges, the court upheld the joinder of the charges.                  Id.; cf.


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United States v. Roselli, 432 F.2d 879, 899 (1970) (finding

joinder permissible when certain acts constituted a “substantial

part of the proof” of the joined charges).               The Ninth Circuit

upheld the joinder even though not all the defendants were

involved with the transportation.            Sanchez-Lopez, 879 F.2d at

551; see also Roselli, 432 F.2d at 899 (“It is implicit in the

language of Rule 8(b) that so long as all defendants participate

in a series of acts constituting an offense or offenses, the

offenses and defendants may be joined even though not all

defendants participated in every act constituting each joined

offense.”).

            In the present case, testimony regarding operation of

the illegal gambling business, though not a required element of

the Hobbs Act violations, is relevant to establishing how and why

Terragna and Brunn allegedly extorted money from Waialua

cockfight operator, Charles Gilman.             Had there been no illegal

gambling business, Defendant Terragna would not have had the same

opportunity to engage in the alleged Hobbs Act violations.                   While

not a required element of each charged offense, the alleged

illegal gambling business “is central to all of the counts in the

Indictment.”     Order at 2.    Accordingly, the Magistrate Judge

correctly found a “logical relationship” between Count 1 and

Counts 3 to 6, making joinder of those counts appropriate.                   See

Vasquez-Velasco, 15 F.3d at 844 (noting that a logical


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relationship is typically shown “by the existence of a common

plan, scheme, or conspiracy”).

            B.    Joinder of Offenses is Permitted By Rule 14(a).

            Terragna also contends that the Magistrate Judge erred

in “denying the motion for severance based on unfair prejudice.”

Appeal at 6.     Terragna claims that evidence admissible as to

Counts 3 to 6 would be inadmissible as to Count 1 under Rule

404(b) of the Federal Rules of Evidence (“Fed. R. Evid.”),3 and

that evidence admissible as to Count 1 would be inadmissible

hearsay as to Counts 3 to 6.       Terragna claims that introduction

of such evidence would be “unfairly prejudicial,” warranting

severance under Rule 14 of the Federal Rules of Criminal

Procedure.    Id. at 7.    The court disagrees.

            Rule 14(a) provides:        “If the joinder of offenses or

defendants in an indictment . . . appears to prejudice a

defendant or the government, the court may order separate trials

of counts, sever the defendants’ trials, or provide any other

relief that justice requires.”          Fed. R. Crim. P. 14(a).           “Rule 14

recognizes that joinder, even when proper under Rule 8(b), may

prejudice either a defendant or the Government.”                  Zafiro v.

United States, 506 U.S. 534, 538-39 (1993).                  However, “Rule 14



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      Rule 404(b) of the Federal Rules of Evidence provides that
“[e]vidence of other crimes, wrongs, or acts is not admissible to
prove the character of a person in order to show action in
conformity therewith.” Fed. R. Evid. 404(b).

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 does not require severance even if prejudice is shown; rather, it

 leaves the tailoring of the relief to be granted, if any, to the

 district court’s sound discretion.”         Id. at 538.

             According to the Supreme Court, “when defendants

 properly have been joined under Rule 8(b), a district court

 should grant a severance under Rule 14 only if there is a serious

 risk that a joint trial would compromise a specific trial right

 of one of the defendants, or prevent the jury from making a

 reliable judgment about guilt or innocence.”             Id. at 539.    The

 Ninth Circuit says, “The ultimate question is whether under all

 the circumstances of the particular case, as a practical matter,

 it is within the capacity of the jurors to follow the court’s

 admonitory instructions and accordingly to collate and appraise

 the independent evidence against each defendant solely upon that

 defendant’s own acts, statements and conduct.”             United States v.

 Campanale, 518 F.2d 352, 359 (9th Cir. 1975).

             “The burden of demonstrating prejudice is a difficult

 one.”    Id.   “The defendant must demonstrate that the joint trial

 was so manifestly prejudicial as to require the trial judge to

 exercise his discretion in but one way, by ordering a separate

 trial.”    United States v. Sherlock, 962 F.2d 1349, 1360 (9th Cir.

 1989).    The Ninth Circuit further held:

             [The defendant] must also show violation of
             one of his substantive rights by reason of
             the joint trial: unavailability of full
             cross-examination, lack of opportunity to

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             present an individual defense, denial of
             Sixth Amendment confrontation rights, lack of
             separate counsel among defendants with
             conflicting interests, or failure properly to
             instruct the jury on the admissibility of
             evidence as to each defendant.

 Id. (citing United States v. Escalante, 637 F.2d 1197, 1201 (9th

 Cir. 1980)).    The defendant “must show more than the fact that a

 separate trial might offer him a better chance of acquittal.”

 Campanale, 518 F.2d at 359.      “The risk of prejudice will vary

 with the facts in each case.”          Zafiro, 506 U.S. at 539.

             Terragna argues that she will be prejudiced because

 evidence admissible as to some counts would be inadmissible as to

 other counts.    Appeal at 7.    Terragna points to three distinct

 categories of evidence: (1) evidence of alleged threats to

 Gilman; (2) evidence of alleged receipt of money as a product of

 alleged threats to Gilman; and (3) wiretap conversations between

 Gilman and John Saguibo.      Id. at 7-8.       With respect to two

 categories of evidence, Terragna claims that introduction of such

 evidence, admissible only as to Counts 3 to 6, would increase the

 likelihood that the jury would also convict her on Count 1.                See

 id. at 7.    While wiretap conversations might be admissible as to

 Count 1, Terragna argues that such evidence would be inadmissible

 hearsay as to Counts 3 to 6 and could deprive her of her Sixth

 Amendment right of confrontation in the event co-defendants

 Gilman and Saguibo declined to testify at trial.



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            In Roselli, the Ninth Circuit addressed a similar

 argument regarding admissibility of evidence on different

 charges.   In that case, the defendants faced two conspiracy

 counts and one count of making false statements in income tax

 returns.   Roselli, 432 F.2d at 884.        Evidence of past tax returns

 was admissible only with respect to the latter charge, but the

 Ninth Circuit upheld joinder, finding evidence that some of the

 participants in the alleged scheme had failed to report income on

 past tax returns unlikely to prejudice the defendants with

 respect to their conspiracy charges.          See id. at 901.      “Because

 the area of proof that would be inadmissible at separate trials

 was relatively small, any additional prejudice to the defendants

 from joinder was slight.”      Id. at 899.        The court noted that the

 trial court “carefully instructed the jury about the

 compartmentalization of the evidence.”          Id. at 902; see also

 Vasquez-Velasco, 15 F.3d at 846 (“In assessing whether joinder

 was prejudicial, of foremost importance is whether the evidence .

 . . is easily compartmentalized.”).         While evidence of falsified

 tax returns might have increased the chances that the jury would

 find the defendants guilty of the conspiracy charges, the Roselli

 court found the prejudice insufficient to require severance under

 Rule 14. See also Lutwak v. United States, 344 U.S. 604, 619

 (1953) (“A defendant is entitled to a fair trial but not a

 perfect one.”).


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            Similarly, evidence relating to the extortion charges

 against Terragna, inadmissible as to Count 1, will be “relatively

 small,” to use the Roselli court’s language, and any resulting

 prejudice likely to be slight.         Moreover, Terragna’s alleged

 threats toward Gilman and alleged receipt of money from Gilman

 are “discrete acts that a jury could compartmentalize reasonably

 easily.”   See Vasquez-Velasco, 15 F.3d at 846.            Even if the

 evidence introduced for Counts 3 to 6 might increase the

 likelihood that the jury would convict under Count 1, “limiting

 instructions[] often will suffice to cure any risk of prejudice.”

 Zafiro, 506 U.S. at 539.      Accordingly, joinder of Count 1 with

 Counts 3 to 6 is unlikely to result in undue prejudice.

            Lastly, Terragna contends that evidence of the wiretap

 conversation might be admissible under Count 1, but that

 admission of such evidence in connection with Counts 3 to 6 would

 deprive her of her Sixth Amendment right of confrontation in the

 event that Gilman and Saguibo declined to testify.             Appeal at 8.

 Even assuming that the wiretap conversation is introduced and

 Gilman and Saguibo decline to testify, introduction of this

 evidence is not necessarily a per se violation of Terragna’s

 Sixth Amendment right of confrontation.           See Richardson v. Marsh,

 481 U.S. 200, 211 (1987) (“the Confrontation Clause is not

 violated by the admission of a nontestifying codefendant’s

 confession when . . . the confession is redacted to eliminate . .


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 the defendant’s name”).      Even if Terragna’s name is not redacted,

 her argument does not suffice to meet her burden of showing that,

 absent severance, the trial will be “manifestly prejudicial.”

 Sherlock, 962 F.2d at 1360.      In Williamson v. United States, 310

 F.2d 192 (9th Cir. 1962), the Ninth Circuit held that a “general

 unsupported assertion of prejudice was not enough to justify the

 severance of counts properly joined.”           Id. at 197.    Similarly, in

 the present case, Terragna fails to even discuss how introduction

 of the wiretap conversations would be “manifestly prejudicial”

 with respect to Counts 3 to 6.         Terragna says only that such

 evidence would deprive her of her Sixth Amendment right of

 confrontation.    See Appeal at 8.          On an issue on which she bears

 the burden, she does not, with this mere assertion, carry her

 burden.

            This court is, in any event, prepared to address the

 issue of possible prejudice with limiting jury instructions.               As

 in Zafiro, 506 U.S. at 541, this court will instruct the jury

 that it must give separate consideration to each defendant and to

 each separate charge against each defendant, and that each

 defendant is entitled to have his or her case determined from

 evidence applicable to him or her.4           More specific limiting


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       The parties should meet and confer in an effort to jointly
 propose jury instructions, whether to be included in the charge
 to the jury at the end of the case or in the instructions to be
 given during trial. The court’s standard criminal instructions
 include the above statements in the charge. In addition, if any

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 instructions referring expressly to the purposes for which

 specific evidence may be considered are also likely.              Presuming,

 as this court must, that the jury will follow the court’s

 instructions, these instructions will address Terragna’s

 concerns.    See id. at 540 (citing Richardson, 481 U.S. at 211);

 Matta Ballesteros, 71 F.3d at 771 (“Judicial economy justifies

 reliance on the jury to follow the instructions of the court that

 segregate the evidence and limit the applicability of the

 evidence to each defendant.”).         Because Terragna has not met her

 burden of showing prejudice and because jury instructions can

 cure any possible prejudice, the court affirms the Magistrate

 Judge’s Order denying Terragna’s motion to sever.




 party thinks it is appropriate for the court to take additional
 action (i.e., in camera review, redaction, etc.), then the party
 should make a formal request.

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 V.          CONCLUSION.

             The court affirms the Magistrate Judge’s Order Denying

 Defendant Micha Terragna’s Motion for Relief from Prejudicial

 Joinder, Or in the Alternative, Motion To Sever.




             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, September 21, 2007.




                                /s/ Susan Oki Mollway
                               Susan Oki Mollway
                               United States District Judge




 United States v. Terragna; CR. No. 06-00198 SOM (06); ORDER AFFIRMING
 MAGISTRATE JUDGE’S ORDER DENYING DEFENDANT MICHA TERRAGNA’S MOTION FOR RELIEF
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